               Case 1:22-cv-00983-VEC Document 81 Filed 12/12/22 Page 1 of 1




December 12, 2022

BY ECF

Hon. Sarah Netburn, United States Magistrate Judge
United States District Court for the Southern District of New York
40 Foley Square, Room 219
New York, New York 10007
                          Nike, Inc. v. StockX LLC, No. 22 CV 983 (VC) (SN)

Dear Judge Netburn:

       We represent Defendant StockX LLC (“StockX”) in the above-captioned matter.

        Pursuant to Your Honor’s Individual Rule III(F), StockX respectfully submits this letter regarding
the sealed treatment of StockX’s letter (the “Letter”) in response to the Court’s December 9, 2022, Order
(ECF No. 79). StockX’s Letter is filed under seal as Exhibit A to this letter.

        The Letter provides an overview of pending discovery disputes ripe for Court resolution. In
support of why Nike, Inc. (“Nike,” and together with StockX, the “Parties”) should be compelled to
respond, or supplement its responses, to StockX’s requests for production and to produce unredacted
versions of documents Nike has redacted for responsiveness, StockX’s Letter references material that
Nike has designated confidential pursuant to the Parties’ July 14, 2022, Stipulated Protective Order (ECF
No. 52). StockX is accordingly filing portions of its Letter under seal pursuant to Paragraph 14 of the
Protective Order, to permit Nike the opportunity to propose, and the Court to approve, appropriate
redactions for material in the Letter that is covered by Nike’s claim of confidentiality.

Respectfully submitted,

/s/ Megan K. Bannigan
Megan K. Bannigan

cc        All counsel of record (via ECF)
